                              IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF NEW MEXICO


WESTERN ENERGY ALLIANCE,                   )
                                           )
               Plaintiff,                  )
                                           )
       v.                                  )                     Civil Case No. 1:16-CV-00912-WJ-KBM
                                           )
RYAN ZINKE, in his official                )
capacity as Secretary of the United States )
Department of the Interior, and BUREAU )
OF LAND MANAGEMENT,                        )
                                           )
               Defendants.                 )
____________________________________)

                                STIPULATION OF PARTIAL DISMISSAL

           Plaintiff Western Energy Alliance (“Alliance”) respectfully submits this stipulation of

partial dismissal under Rule 41(a)(1)(A)(ii). On January 31, 2018, the United States Department

of the Interior formally adopted a revised Instruction Memorandum (No. 2018-034) concerning

Federal oil and gas leasing and management.1 The Instruction Memorandum includes provisions

that relate to the allegations raised in Counts II and III of the Alliance’s Complaint. Given the

Instruction Memorandum’s adoption, the Alliance and Defendants stipulate to the dismissal of

Counts II and III.




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    A copy IM No. 2018-034 is attached to this filing for the Court’s reference.
         Submitted respectfully this 1st day of February, 2018,

                                                    JEFFREY H. WOOD
                                                    Acting Assistant Attorney General
                                                    U.S. Department of Justice
                                                    Environment and Natural Resources Division

 By:      /s/ Mark S. Barron                        By: /s/ John S. Most
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 Counsel for Plaintiff Western Energy Alliance




                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 1st day of February, 2018, a true and correct copy of the

foregoing Stipulation to Partial Dismissal was served by filing a copy of that document with the

Court’s CM/ECF system, which will send notice of electric filing to all counsel of record.


                                               /s/ Mark S. Barron
                                               Mark S. Barron




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